Case 2:03-cr-20072-BBD Document 140 Filed 04/26/05 Page 1 of 6 Page|D 148

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UN|TED STATES OF AMER|CA IV`| -_ d H .H
\ \_‘:`l‘._i"li i`\\ LFi 5._)
cf§:rti<.. u.s, ol_ _,‘f.
-V- 2103CR20072-03-D W,D. C‘F TN, i‘~f}c¢v.PHiS

KENNETH CHALMERS
Marty McAfee, CJA
Defense Attorney
246 Adams Ave.
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 5 of the lndictment on September 17, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section N_T!L§_LQ@"_$€ Offerlse Numberjsl
M
18 U.S.C. §§ 513(a) & 2 Possession of Counterfeit Securities 06/28/2001 5

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996

Count(s) 1 is dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 05!26/1957 Apri| 18, 2005
Deft’s U.S. N|arsha| No.: 19470-076

Defendant’s Mai|ing Address:
1976 Euc|id
Memphis, TN 38104

BERN| E B. DONALD
UN|TED STATES D|STR|CT JUDGE

This doct.ment entered on the docket s§?et 5 compliance Apr"ij_, 2005

with R.i|e 55 and.'or 32¢£)) FRCrP on '

      

/¢/O

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Case No: 2:03CR20072-03 Defendant Name: Kenneth CHALN|ERS Page 2 of 5
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 24 Months.

The Court recommends to the Bureau of Prisons:
That defendant participate in the 500 hour comprehensive drug treatment program.

The defendant is remanded to the custody of the United States |Vlarsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES i\/|ARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2:030R20072-03 Defendant Name: Kenneth CHALN|ERS Page 3 of 5

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answertruthful all inquiries by the probation ocher and follow the instructions of
the probation officer;

4. The defendant shail work regularly at a lawful occupation unless excused by the probation officer for
schooling, trainingr or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed , or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No.' 2:03CR20072-03 Defendant Name: Kenneth CHALMERS Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the courl;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgmentl

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

The defendant shall participate in substance abuse testing and treatment programs as
directed by the Probation Officer;

The defendant shall be prohibited from incurring new credit charges or opening additional
lines of credit Without the approval of the Probation Officer;

The defendant shall provide the Probation Ofl'"icer with any requested financial information;

The defendant shall cooperate in the collection of DNA as directed by the Probation thcer.

CRlMlNAL MONETARY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance
With the schedule of payments set forth in the Schedule of Payments, The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00 $1,301.25

The Special Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON
Restitution in the amount of $1 ,301 .25 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

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Case No: 2:03CR20072-03 Defendant Name: Kenneth Cl-lALNlERS Page 5 of 5
Priority
Total Amount of Order
Name of Pa![ee Amount Restitution Ordered or
of Loss Percentage
of Payment
ClTY OF lVlEl\/|Pl-l|S CRED|T $1,301.25 $1,301.25
UN|ON,

Attn: JOYCE CRA|G
2678 MT. MOR|AH
TERRACE COVE
MEMPH[S, TN 38117

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Reasons page.

SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Specia| instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
10% of gross monthly income. interest requirement is waived. Pursuant to 18
U.S.C. § 3664(k), the defendant shall notifythe Court and the United States Attorney
of any material change in economic circumstances that may affect defendants ability
to pay restitution.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonmentl All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial Responsibility Program, are made to the clerk of the
court unless othen/vise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.
Joint and Several
Defendant Name, Case Number, and Joint and Several Amount:

Teresa MCAfee, 2203CR20072-O1, $1,301.25
William Cox, 2:03CR20072-02, $1,301.25

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 140 in
case 2:03-CR-20072 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

Pamela B. Hamrin

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Ste. 200

i\/lemphis7 TN 38103

Eugene A. Laurenzi

GODWIN MORRIS LAURENZI & BLOOi\/[FIELD, P.C.
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Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

